IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

H2E AMERICAS, LLC, )
Petitioner,
V. Civil Action No. 25-mc-29-RGA-SRF
RYMARK, INC., et al.,
Respondents.
)
ORDER

Pending before the court is the motion of H2E Americas, LLC (“Petitioner”) to quash the
third-party subpoenas served upon it by respondents Rymark, Inc., Nicholas Markosian, and
Vicky Small (collectively, “Respondents”) or, alternatively, to enter a protective order under
Federal Rule of Civil Procedure 26(c). (D.I. 1) Respondents are defendants / counter-claimants
in a civil action pending in the District Court for the District of Utah, Capana Swiss Advisors,
AG, et al. v. Rymark Inc., et al., C.A. No. 2:23-467 (D. Utah). Having reviewed the motion, and
in the interest of efficiency, IT IS ORDERED that the matter shall proceed as follows:

1. Petitioner shall complete service of both the motion to quash and this Order on
Respondents by February 5, 2025. Petitioner shall file proofs of service with the court on or
before February 7, 2025.

2. On or before February 12, 2025, or such other time as agreed to by the parties,
Petitioner shall meet and confer with Respondents (in person and/or by telephone) regarding the
motion to quash. Should the parties agree on the manner and scope of compliance with the
subpoenas, Petitioner shall file a Stipulation and Proposed Order regarding the subpoenas. The

parties may also submit a proposed Protective Order.
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3. If the parties find they are unable to agree on compliance with the subpoenas (or
the terms of a protective order, if applicable), any party may file a Motion for Teleconference to
Resolve Discovery Dispute. The suggested text for this motion can be found in Judge Fallon’s
portion of the court’s website, in the “Forms” tab, under the heading “Discovery Matters -
Motion to Resolve Discovery Dispute - Revised 10/10/19[.]” The dispute will thereafter be
addressed in accordance with Judge Fallon’s discovery dispute procedures. Respondents’ letter
shall be due first, and it should set forth why the subpoena should not be quashed and/or why a
protective order should not be entered. Should Respondents fail to comply with this Order, the

court may consider and grant the motion to quash, in whole or in part, without further notice to

Respondents. es)
Date: January 30, 2025 The Honorab Sherry R. Fallon
UNITED\STATES\MAGISTRATE JUDGE

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